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                 Exhibit 9
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Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Dallas County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=P2&g=050XX00US48113&tid=DECENNIALPL2020.P2




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TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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Table: DECENNIALPL2020.P2


  Label                              Dallas County, Texas
Total:                              2,613,539
 Hispanic or Latino                 1,057,835
 Not Hispanic or Latino:            1,555,704
   Population of one race:          1,488,950
     White alone                    724,987

     Black or African American alone 564,741
     American Indian and Alaska
     Native alone                    6,743
     Asian alone                     181,314
     Native Hawaiian and Other
     Pacific Islander alone          1,175
     Some Other Race alone           9,990

   Population of two or more races: 66,754
    Population of two races:        62,273
      White; Black or African
      American                      15,601
      White; American Indian and
      Alaska Native                 16,083
      White; Asian                  11,841
      White; Native Hawaiian and
      Other Pacific Islander        511
      White; Some Other Race        8,976
      Black or African American;
      American Indian and Alaska
      Native                        3,932
      Black or African American;
      Asian                         1,753
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              300


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Table: DECENNIALPL2020.P2


  Label                               Dallas County, Texas
      Black or African American;
      Some Other Race                1,953
      American Indian and Alaska
      Native; Asian                  292
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         17
      American Indian and Alaska
      Native; Some Other Race        107
      Asian; Native Hawaiian and
      Other Pacific Islander         440
      Asian; Some Other Race         454
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           13
     Population of three races:      4,071
      White; Black or African
      American; American Indian
      and Alaska Native              1,868
      White; Black or African
      American; Asian                581
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     60
      White; Black or African
      American; Some Other Race      400
      White; American Indian and
      Alaska Native; Asian           312
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       44


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  Label                                  Dallas County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           98
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       297
      White; Asian; Some Other
      Race                           103
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     6
      Black or African American;
      American Indian and Alaska
      Native; Asian                  83
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         9
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        89
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         74
      Black or African American;
      Asian; Some Other Race         35
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           7




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  Label                                  Dallas County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       3
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           2
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
     Population of four races:       358
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       147
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       8
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     123
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       19




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  Label                              Dallas County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         23
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              1
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     34
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   0
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    3
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         0




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  Label                                  Dallas County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       52
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               36
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                11
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


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Table: DECENNIALPL2020.P2


  Label                                  Dallas County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      5
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of six races:        0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0




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